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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

QUALCOMM INC., a Delaware corporation,
and QUALCOMM TECHNOLOGIES, INC.,
a Delaware corporation,

                           Plaintiffs,

      v.                                            C.A. No. 24-490 (MN)

ARM HOLDINGS PLC., f/k/a ARM LTD., a
U.K. corporation,


                           Defendant.



 DEFENDANT ARM HOLDINGS PLC’S CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Civil Procedure 7.1(a), Defendant Arm Holdings plc is

publicly traded on the NASDAQ Stock Exchange. Softbank Group Corp. owns more than

10% of Arm Holdings plc’s stock. Softbank Group Corp. is publicly traded on the Tokyo

Stock Exchange.

      Arm Holdings plc further states that it is not formerly known as Arm Ltd.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 12, 2024, a copy of the foregoing document

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